Case 2:OO-cv-02863-.]PI\/|-tmp Document 443 Filed 04/25/05 Page 1 of 3 Page|D 3§9

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IN THE U'NITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

05.51.?'§ 25 £li*iiir 1.,

 

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CLEHK,L}S.CH n GT
W.D. UF `l`i`\i, Mt.viPHlS

JOHN N. HOOPER,
Plaintiff,
v. No. 00-2863 Ml/P

PUBLIC PROPERTIES MANAGEME:NT,
INC. (PPM, INC.) et al.,

vv~.¢~_¢vvv\.¢vv

Defendants.

 

ORDER FOLLOWING STATUS CONFERENCE

 

The Court held a status conference in this case on Friday,
April 22, 2005. Pursuant to the discussion during the
conference, the Court sets the following schedule in this case:

Trial: Mondav, November 28, 2005, at 9:30 a.m.

Pretrial Conference: Mondav, November 21, 2005, at 9:00 a.m.

Pretrial Order: Mondav, November 14, 2005, at 4:30 D.m.

Further, the parties shall promptly consult and submit a
joint proposed scheduling order in this case. If the parties are
unable to reach agreement regarding a scheduling order, the
United States Magistrate Judge shall establish a scheduling order

consistent with the above trial schedule.

ENTERED this ,?2 day cf Aprj_i 2005.

P. MCCALLA
U0 ITED STATES DISTRICT JUDGE
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US DISTRICT COURT

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